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‘H.ED ay
IN THE UNITEI) sTATES DISTRICT CoURT ~- ge
FoR THE WESTERN DISTRICT oF TENNESSEE 05 403 10
WESTERN DIvIsIoN P"' 2= 13
ELNORA YoUNG, ) /DG# “'%, 1
)
Plaimiff, )
)
v. ) No.= 04-2776.An
)
noNALD MENSAH, and )
WENNER TRUCKING CoMPANY )
aka wERNER ENTERPRISES, INc. )
oF NEBRASKA, )
)
Defendants. )

 

AMENDED RULE 16(b) SCHEDULING ORDER

 

Before the Court is the Joint Motion of the Parties to Amend Scheduing Order filed on
July 14, 2005.

For good cause show, the Motion is GRANTED.

The following dates are amended as the final dates for:

COMPLETING ALL DISCOVERY: December 2, 2005

DISPOSITIVE MOTION DEADLINE: January 6, 2006

FINAL LISTS OF WITNESSES AND EXHIBITS (Rule 26(a)(3)):

(a) for Plaintiff: March 10, 2006
(b) for Defendant: March 24, 2006

Parties shall have 10 days after service of final lists of witnesses and exhibits to file
objections under Rule 26(a)(3).

 

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Thls document entered on the docket shee;t in stage
w\th Rule 58 and/or 79(a) FF\CP on _" //

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The parties have consented for this matter to be tried by the Magistrate Judge.

The trial of this matter is expected to last 2-3 days and is SET for JURY TRIAL on
'I`UESDAY, APRIL 25, 2006 at10:00 A.M.. A joint pretrial order is due on MONDAY,
APRIL 17, 2006. In the event the parties are unable to agree on a joint pretrial order, the parties
must notify the court at least ten days before trial.

 

IT IS SO ORDERED.

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE IUDGE

Date: /O'. ZOOJ/

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 11 in
case 2:04-CV-02776 Was distributed by faX, mail, or direct printing on
August 16, 2005 to the parties listed.

 

 

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Honorable S. Anderson
US DISTRICT COURT

